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1    McGREGOR W. SCOTT
     United States Attorney
2    MICHAEL M. BECKWITH
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2797
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7
8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )      CR. S 08-390-GEB
12                                    )
               Plaintiff,             )      STIPULATION AND [PROPOSED}
13                                    )      ORDER CONTINUING STATUS
                                      )      CONFERENCE AND EXCLUDING
14        v.                          )      TIME
                                      )
15                                    )
     KEOUDONE NOY PHAOUTHOUM, et al., )
16                                    )
               Defendants.            )      Hon. Garland E. Burrell
17                                    )
18
19        The parties request that the status conference currently set
20   for November 7, 2008, be continued to January 9, 2009, and
21   stipulate that the time beginning November 7, 2008, and extending
22   through January 9, 2009, should be excluded from the calculation
23   of time under the Speedy Trial Act.      The parties submit that the
24   ends of justice are served by the Court excluding such time, so
25   that counsel for each defendant may have reasonable time
26   necessary for effective preparation, taking into account the
27   exercise of due diligence.     18 U.S.C. § 3161(h)(8)(B)(iv); Local
28   Code T4.

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1         The parties are in the process of discussing and negotiating
2    various pretrial dispositions.     Each defendant will need time to
3    consider any plea offer he or she may receive.        Additionally,
4    counsel for each defendant needs more time to review the
5    discovery in this case, discuss that discovery with their
6    respective clients, consider evidence that may affect the
7    disposition of this case, and discuss with their clients how to
8    proceed.   The parties stipulate and agree that the interests of
9    justice served by granting this continuance outweigh the best
10   interests of the public and the defendants in a speedy trial.         18
11   U.S.C. § 3161(h)(8)(A).
12                                          Respectfully Submitted,
13                                          McGREGOR W. SCOTT
                                            United States Attorney
14
15   Dated: November 6, 2008            By:/s/ Michael M. Beckwith
                                           MICHAEL M. BECKWITH
16                                         Assistant U.S. Attorney
17
     Dated: November 6, 2008            By:/s/ Katherine Lothrop
18                                         KATHERINE LOTHROP
                                           Attorney for defendant
19                                         Keoudone Noy Phaouthoum
20
     Dated: November 6, 2008            By:/s/ Mark Reichel
21                                         MARK REICHEL
                                           Attorney for defendant
22                                         Kommala Xayadeth
23
     Dated: November 6, 2008            By:/s/ Johnny Griffin
24                                         JOHNNY GRIFFIN
                                           Attorney for defendant
25                                         John Li
26
     Dated: November 6, 2008            By:/s/ Michael Bigelow
27                                         MICHAEL BIGELOW
                                           Attorney for defendant
28                                         Son Nguyen

                                        2
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1
     Dated: November 6, 2008               By:/s/ Krista Hart
2                                             KRISTA HARTA
                                              Attorney for defendant
3                                             Than Nguyen
4
     Dated: November 6, 2008               By:/s/ David Dratman
5                                             DAVID DRATMAN
                                              Attorney for defendant
6                                             Tuy Nguyen
7
     Dated: November 6, 2008               By:/s/ Carl Larson
8                                             CARL LARSON
                                              Attorney for defendant
9                                             Khamsou Sida
10
                                         ORDER
11
          The status conference in case number CR. S 08-390-GEB,
12
     currently set for November 7, 2008, is continued to January 9,
13
     2009, and the time beginning November 7, 2008, and extending
14
     through January 9, 2009, is excluded from the calculation of time
15
     under the Speedy Trial Act.        The Court finds that interests of
16
     justice served by granting this continuance outweigh the best
17
     interests of the public and the defendants in a speedy trial.            18
18
     U.S.C. § 3161(h)(8)(A).
19
20
     IT IS SO ORDERED.
21
22   Dated:    November 7, 2008

23
24                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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